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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                   Judge R. Brooke Jackson

Civil Action No 17-cv-01065-RBJ

INTERNATIONAL ASSOCIATION OF CERTIFIED HOME INSPECTORS,
 a Colorado nonprofit corporation,

        Plaintiff,
v.

HOMESAFE INSPECTION, INC., a Mississippi corporation incorporated in 2003;
HOMESAFE INSPECTION, INC., a Mississippi corporation incorporated in 2014; and
KEVIN SEDDON,

        Defendants.


                                ORDER ON MOTION TO DISMISS



        This matter is before the Court on defendants HomeSafe Inspection, Inc.’s (“HomeSafe”)

and Kevin Seddon’s motion to dismiss plaintiff International Association of Home Inspectors’

(“InterNACHI”) amended complaint, ECF No. 23. For the reasons stated below, defendants’

motion to dismiss is GRANTED.

                                                FACTS

        InterNACHI is a Colorado non-profit corporation and trade association representing more

than 20,000 home inspectors across the United States. ECF No. 22 at 5. HomeSafe is a

Mississippi corporation that claimed to own the exclusive right to use infrared technology in

home inspections. Id. at 6. Kevin Seddon is the President and a director of HomeSafe.1 Id. at 3.

InterNACHI and HomeSafe first got involved in 2013 after an InterNACHI member explained to

1
 HomeSafe has existed in two iterations: HomeSafe 2003 and 2014. ECF No. 22 at 6. It appears that the
two iterations were successors and/or alter egos, and there does not appear to be any material difference
between them. Id.

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InterNACHI’s founder, Nick Gromicko, that he had been sued by HomeSafe. Id. at 7.

HomeSafe had claimed that it owned a patent giving it the exclusive right to use infrared

technology in home inspections and had sued the InterNACHI member for ostensibly violating

that patent by using HomeSafe’s technology. Id. Mr. Gromicko contacted Mr. Seddon at

HomeSafe about the issue, at which point Mr. Seddon represented that HomeSafe held patents

giving it the exclusive right to use infrared technology in home inspections and indicated that

HomeSafe would continue suing home inspectors who used infrared technology in their

inspections. Id. at 8. Following this conversation, Mr. Gromicko and Mr. Seddon continued to

communicate by email, and InterNACHI alleges that Mr. Seddon continued to make

representations about its patent rights. Id. Soon thereafter, Mr. Gromicko signed a license

agreement on behalf of InterNACHI with Mr. Seddon, under which InterNACHI would provide

an opportunity for its members to obtain a license to use HomeSafe’s technology. ECF No. 23-

6.

       A. State Court Litigation.

       In January 2015 HomeSafe sued InterNACHI in the circuit court of Lafayette County,

Mississippi. ECF No. 23 at 3. In that suit, HomeSafe alleged that InterNACHI breached the

parties’ license agreement, and it raised claims for violation of the Mississippi Fair Trade

Practices Act, unfair competition, unjust enrichment, breach of contract, and conversion. Id. In

January 2016 InterNACHI filed an amended answer and counterclaim against HomeSafe and a

third-party complaint against Mr. Seddon. Id. InterNACHI alleged that HomeSafe had

misrepresented its patent rights to InterNACHI and its members to induce InterNACHI to enter

the license agreement. ECF No. 23-1 at 13. InterNACHI thus asserted counterclaims of

fraudulent misrepresentation, negligent misrepresentation, unjust enrichment, declaratory



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judgment, and rescission of the contract. Id. at 13–15. Additionally, InterNACHI noted in its

amended answer that although it was not at the time seeking to add a claim under 18 U.S.C. §

1961 et seq. (“Racketeer Influenced and Corrupt Organizations Act” or “RICO”), it was

reserving the right to do so because there “is evidence Plaintiff violated the federal wire fraud

statute” and the federal mail fraud statute. Id. at 11. Although InterNACHI did not add a RICO

claim in the state court suit, it threatened to do so again at the close of discovery in May 2016 if

the parties could not reach a settlement. ECF No. 23 at 4.

       In December 2016 the Mississippi state court granted HomeSafe’s motion for summary

judgment on InterNACHI’s counterclaims. ECF No. 23-5. InterNACHI has admitted that

summary judgment was granted because it “was unable to specifically prove damages under

Mississippi law.” ECF No. 26 at 4. The Mississippi case is set for trial, and deadlines to assert

additional claims have passed. ECF No. 23 at 4. As such, HomeSafe contends that the state

court order granting summary judgment is a final adjudication on the merits of InterNACHI’s

counterclaims.

       B. Present Litigation.

       In the present suit against HomeSafe and Mr. Seddon, InterNACHI relies on much of the

same factual background as in its state counterclaims. See ECF No. 22 at 5–12 (recounting the

same background about Mr. Gromicko’s and Mr. Seddon’s communications and negotiations

leading to a contract, and relying on the same alleged misrepresentations about the same

HomeSafe patents). Unlike its state counterclaims, however, InterNACHI’s complaint in the

instant case raises claims for RICO violations and conspiracy to violate RICO (hereinafter, the

“RICO claims”). Id. at 14. InterNACHI also seeks a declaration of rights and obligations with

respect to HomeSafe’s patents and common law rights to infrared technology, and it seeks



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injunctive relief from HomeSafe’s alleged continued illegal activity. Id. In support of these

claims InterNACHI alleges that HomeSafe and Mr. Seddon misled InterNACHI and its members

about the technology HomeSafe owned in an attempt to obtain licensing fees; fraudulently

induced Mr. Gromicko into entering a contract; and conducted a “continuing pattern of

racketeering activity” by communicating via mail or wire with InterNACHI members to deceive

them into believing that they were required to pay a licensing fee to use infrared technology and

that they would be sued for using that technology without a license. Id. at 22, 15. As evidence

of such communications, InterNACHI cites 34 “threatening letter[s]” from HomeSafe to

InterNACHI inspectors between 2008 and 2011. Id. at 18–24. InterNACHI thus alleges that its

members were injured when they paid license fees to HomeSafe under false pretenses or when

they refused to use infrared technology out of fear that they would be sued if they did. Id. These

damages are distinct from those alleged in the Mississippi state counterclaims.

                                   STANDARD OF REVIEW

       To survive a 12(b)(6) motion to dismiss, the complaint must contain “enough facts to

state a claim to relief that is plausible on its face.” Ridge at Red Hawk, L.L.C. v. Schneider, 493

F.3d 1174, 1177 (10th Cir. 2007) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007)). A plausible claim is a claim that “allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

While the Court must accept the well-pleaded allegations of the complaint as true and construe

them in the light most favorable to the plaintiff, Robbins v. Wilkie, 300 F.3d 1208, 1210 (10th

Cir. 2002), purely conclusory allegations are not entitled to be presumed true, Iqbal, 556 U.S. at

681. However, so long as the plaintiff offers sufficient factual allegations such that the right to




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relief is raised above the speculative level, he has met the threshold pleading standard. See, e.g.,

Twombly, 550 U.S. at 556; Bryson v. Gonzales, 534 F.3d 1282, 1286 (10th Cir. 2008).

                                             ANALYSIS

        HomeSafe raises five reasons to dismiss InterNACHI’s complaint.2 Because the doctrine

of res judicata is dispositive, I need not discuss HomeSafe’s alternative arguments. HomeSafe

seeks to have InterNACHI’s claims for RICO violation, conspiracy to violate RICO, declaratory

relief, and injunctive relief dismissed because they are barred by res judicata. Since

InterNACHI’s state counterclaims were dismissed on summary judgment, HomeSafe argues that

InterNACHI’s closely related RICO claims, which should also have been raised in the state

court, must now be dismissed from federal court.

        As an initial procedural note, HomeSafe’s res judicata argument is premised on matters

outside InterNACHI’s complaint, including InterNACHI’s counterclaims before the Mississippi

state court and that court’s order on summary judgment. Although InterNACHI has not objected

to my considering these matters, a court generally must convert a motion to dismiss to a motion

for summary judgment when the court considers “matters outside the pleadings.” Fed. R. Civ. P.

12(d). However, it need not do so “if it takes judicial notice of its own files and records, as well

as facts which are a matter of public record. . . . The files in the state-court disciplinary

proceedings and the two prior cases . . . clearly fall into these excepted categories.” Rose v. Utah

State Bar, 471 F. App’x 818, 820 (10th Cir. 2012) (citation omitted). As a result, I need not

convert the instant motion to dismiss into a motion for summary judgment in order to take

judicial notice of the Mississippi state court records that are relevant to the present federal case.



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 HomeSafe’s additional reasons are: Mississippi’s doctrine of compulsory counterclaims; claim splitting
and Colorado River abstention; the Noerr-Pennington doctrine; lack of venue; and failure to properly
allege a RICO claim based on a distinct enterprise and participants. See ECF No. 23 at 1–2.

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        The preclusive effect of the Mississippi state court decision in federal court is controlled

by 28 U.S.C. § 1783, which provides that state court judgments “shall have the same full faith

and credit in every court within the United States . . . as they have by law or usage in the courts

of such State . . . from which they are taken.” The court “must, therefore, ascertain what

preclusive effect [Mississippi] would give its own decision before we may know what effect it

should be given in the federal court.” Stifel, Nicolaus & Co., Inc. v. Wollsey & Co., Inc., 81 F.3d

1540, 1544 (10th Cir. 1996). As a result, I will assess the Mississippi law of res judicata to

determine what effect to give the prior state court action.3

        According to the Mississippi law of res judicata, “‘when a court of competent jurisdiction

enters a final judgment on the merits of an action, the parties or their privies are precluded from

re-litigating claims that were decided or could have been raised in that action.’” Harrison v.

Chandler-Sampson Ins., Inc., 891 So. 2d 224, 232 (Miss. 2005) (quoting Miss. Dep’t of Human

Services v. Shelby, 802 So .3d 89, 95 (Miss. 2001)). “In Mississippi, the doctrine of res judicata

requires four identities to be present before it applies: (1) identity of the subject matter of the

action; (2) identity of the cause of action; (3) identity of the parties to the cause of action; and (4)

identify of the quality or character of a person against whom the claim is made.” Hill v. Carroll

Cnty., 17 So. 3d 1081, 1085 (Miss. 2009). “‘The absence of any one of the elements is fatal to

the defense of res judicata.’” Id. (quoting Estate of Anderson v. Deposit Guar. Nat’l Bank, 674

So. 2d 1254, 1256 (Miss. 1996)).

        Although InterNACHI does not directly respond to HomeSafe’s argument with respect to

the four identities, it does make a threshold argument that “the merits of InterNACHI’s claims in

this action were not ‘litigated and decided’ in the state court action.” ECF No. 26 at 6.

3
 I note that InterNACHI relies on federal rather than state law in making its res judicata argument. See
ECF No. 26 at 5–6. Although the federal standard is irrelevant here, I have attempted to discern from
InterNACHI’s argument those points that are relevant to the state test.

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InterNACHI contends that because it still has a pending affirmative defense of fraudulent

inducement in the state court case, “there has been no final judgment on the merits of whether

HomeSafe engaged in fraud because a jury must still determine the fraudulent inducement

defense.” ECF No. 26 at 6. As HomeSafe points out, however, InterNACHI’s “affirmative

defenses to HomeSafe’s pending claims are irrelevant for purposes of res judicata and do not

have preclusive effect of an asserted claim.” ECF No. 29 at 2. I agree. InterNACHI pled a

veritable panoply of affirmative defenses to HomeSafe’s state claims, one of which was

fraudulent inducement. See ECF No. 23-1 at 2–5. The existence of an outstanding affirmative

defense does not, however, change the preclusive effect of the state court’s decision on

InterNACHI’s counterclaims or correct InterNACHI’s failure to allege its RICO counterclaims

in that suit.

        Having assessed InterNACHI’s threshold argument that there has not been a final

adjudication on the merits, I now proceed to consider the four identities required for res judicata

to apply under Mississippi law. For the reasons explained below, I conclude that InterNACHI’s

RICO and related claims should have been litigated in the state court suit and are therefore

barred from resolution by this Court by res judicata.

        i. Identity of the Subject Matter of the Action.

        The identity of the subject matter of the action refers to the “substance” of the lawsuit.

Hill, 17 So. 3d at 1084. Here, HomeSafe argues that the subject matter of both InterNACHI’s

federal suit and HomeSafe’s state suit is the parties’ contractual relationship and the question of

whether HomeSafe made false representations to InterNACHI to induce it to enter the contract.

ECF No. 23 at 6; see also ECF Nos. 22, 23-1. InterNACHI does not directly address the identity

of the substance of the suit, but it notes that “while there is some overlap, [InterNACHI]’s claims



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are not based entirely on the same facts as in the state court action.” ECF No. 26 at 6.

InterNACHI also notes that its complaint in this case “is based on facts that either occurred, or

were discovered, only after the deadline passed within which those claims may have been

litigated in state court action.” Id. In this respect, InterNACHI is presumably referring to the 34

“threatening letter[s]” sent from HomeSafe to InterNACHI members between 2008 and 2011.

       In Harrison v. Chandler-Sampson Ins., Inc., the Mississippi Supreme Court found that

the subject matter of a subsequent and prior action were the same. 891 So. 2d at 233. In that

case, the plaintiffs in the original complaint sued their insurer, Chandler-Sampson, for

improperly defending the plaintiffs pursuant to their insurance policy against a suit brought

against them. Id. at 227. In the second case, “[u]nder the auspices of a new legal theory,” the

same plaintiffs claimed the insurer was “negligent in the writing of their insurance coverage due

to Chandler-Sampson’s failure to assure that the relevant policies covered” the legal claims that

had been brought against the plaintiffs. Id. at 228. The court noted that “each case directly

involves the written instruments that constitute the [plaintiffs’] insurance policies. Specifically,

the substance of the both [sic] lawsuits is founded on Chandler-Sampson’s relationship to this

policy.” Id. at 233. Harrison thus illustrates that the Mississippi courts interpret the subject

matter of an action broadly.

       Applying these principles to the case at hand, I find that the subject matter of

InterNACHI’s counterclaims in the state case is the same as the subject matter of its claims

before this Court, namely: HomeSafe’s alleged misrepresentations to InterNACHI and its

members. InterNACHI’s counterclaims in the state suit alleged that HomeSafe wrongfully

represented to InterNACHI and its members that HomeSafe owned the exclusive right to the use

of infrared technology in home inspections and that it would sue InterNACHI members for the



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wrongful use of this technology. See ECF No. 23-1 at 13–14. In its amended complaint before

this Court, InterNACHI similarly alleges that HomeSafe deceived inspectors into believing that

HomeSafe owned the exclusive rights to use infrared technology in home inspections in order to

gain licensing fees. ECF No. 22 at 27. InterNACHI also argues that HomeSafe fraudulently

induced InterNACHI to enter a contract for HomeSafe’s financial gain. Id. There is a distinction

between the cases in that InterNACHI’s counterclaims in the state case were based on

HomeSafe’s misrepresentations that induced InterNACHI to enter the contract and the

subsequent damages related to the cost of defending the breach of contract claim, whereas now

InterNACHI emphasizes the misrepresentations to InterNACHI’s members and the damages they

incurred when they paid licensing fees or refused to use infrared technology in their home

inspections. However, this distinction between the claims’ focus does not change the fact that

the same misrepresentations to InterNACHI and its members are at issue in both cases.

       Moreover, though InterNACHI argues that the present suit is based on facts that either

occurred or were discovered only after the deadline by which those claims may have been

litigated in state court, this failure to previously plead those facts appears to be based on

InterNACHI’s failure to properly investigate the facts. The 34 contacts alleged in the present

case all occurred between 2008 and 2011, as noted above, which was well before InterNACHI

filed its counterclaims in the state court case in 2016. As such, these facts are not “new” in the

sense that InterNACHI could not have discovered and pled them in the state case. Instead, its

failure to investigate the evidence it had in 2016 only undermines its attempt to raise these claims

here for the first time. See ECF No. 23-1 at 11 (“[T]here is evidence Plaintiff violated the federal

wire fraud statute . . . by making communications by phone and email in furtherance of its

scheme to defraud . . . [and] may also have violated the federal mail fraud statute.”).



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        ii. Identity of the Cause of Action.

        “This identity requires the ‘cause of action’ in both suits to be the same,” where the cause

 of action is defined as “the underlying facts and circumstances upon which a claim has been

 brought.” Hill, 17 So. 3d at 1085. To determine the identity of the cause of action, Mississippi

 uses the transactional analysis espoused by the United States Supreme Court in Nevada v. United

 States, 463 U.S. 110, 131. Id. at 1086. Under the Nevada analysis, two causes of action are the

 same if they arise from the same transaction, “‘to be determined by giving weight to such

 considerations as whether the facts are related in time, space, origin, or motivation, whether they

 form a convenient trial unit, and whether their treatment as a unit conforms to the parties’

 expectations or business understanding or usage.’” Id. (quoting Nevada, 463 U.S. at 131).

 Courts using this analysis are instructed to look past the legal bases for the claims and to rely on

 the factual and transactional relationship between the original and subsequent action; the

 Mississippi Supreme Court has warned against “relitigating a matter and eluding res judicata by

 raising a new legal theory under the same set of facts.” Little v. V&G Welding Supply, Inc., 704

 So. 2d 1336, 1338 (Miss. 1997).

        In this case, HomeSafe argues that the transaction at the heart of both actions is the

 negotiation and contract between HomeSafe and InterNACHI. ECF No. 23 at 7. HomeSafe

 contends that the facts and circumstances are identically pled in both cases, such that while the

 facts give rise to several possible theories of recovery, there is only one cause of action in both

 cases. Id. Again, InterNACHI does not address this identity head on, but it does contend that the

 elements required to prove a RICO case are distinct from those required to prove a claim for

 misrepresentation. ECF No. 26 at 6. However, the difference between a RICO claim and

 InterNACHI’s previous legal claims in the state court are irrelevant for establishing this identity.



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 See Hill, 17 So. 3d at 1085. The allegations underpinning InterNACHI’s state court

 counterclaims were HomeSafe’s misrepresentations to InterNACHI and its members; those same

 misrepresentations to InterNACHI’s members form the basis of its RICO claims before this

 Court. As such, the factual bases of both cases are closely related, and would sensibly by treated

 as a “convenient trial unit.” See Nevada, 463 U.S. at 131.

         iii. Identity of the Parties to the Causes of Action.

         To satisfy this identity, “strict identity of the parties is not necessary.” Hill, 17 So. 3d at

 1086. HomeSafe argues that since the parties to the federal action are identical to those in the

 state action, this identity has been met. ECF No. 23 at 7. InterNACHI contests this assertion on

 the grounds that it is acting as the assignee for home inspectors in this case, whereas it was not in

 the state action. ECF No. 26 at 6. Despite InterNACHI’s argument, I find that this identity has

 been met. The case caption and description of the parties in InterNACHI’s amended complaint

 both indicate that InterNACHI is bringing this case on its own behalf, just as it did in its state

 counterclaims. See ECF No. 22 at 1–2. It claims for the first time in the fact section of its

 amended complaint that it “brings this action as the assignee of numerous home inspectors that

 have assigned their claims against Defendants to InterNACHI,” but it fails to identify who these

 inspectors are, which rights were assigned to InterNACHI, and when that assignment occurred.

 Id. at 5. There is thus no indication of a valid assignment of rights. Because this purported

 assignment is so vague and suspect, I reject it as grounds to escape res judicata. As a result, I

 find that the parties to the state court case were identical to the parties in this action.

         iv. Identity of the Quality or Character of the Person Against Whom a Claim is Made.

         Although Mississippi courts have not “specifically state[d] what must be established to

 meet this prong,” it has been satisfied when two defendants are of the same type. EMC Mortg.



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 Corp. v. Carmichael, 17 So. 3d 1087, 1091 (Miss. 2009). For example, this identity was met

 when the defendants in the previous and subsequent suits were “both mortgage lenders.” Id.

 The Mississippi Supreme Court has also found the identity of the quality or character of the

 person against whom a claim is made to be present when the named defendant is the same in the

 subsequent action as in the previous action. Hill, 17 So. 3d at 1087. This identity is satisfied in

 this case because HomeSafe was the counter-defendant and Mr. Seddon was the third-party

 defendant in the state suit, and they are the defendants in the present suit.

         Because the four identities are satisfied, InterNACHI’s claim before this Court is barred

 by res judicata. InterNACHI’s RICO claims and related claims (i.e., for injunctive relief and a

 declaratory judgment) could have been advanced in the state court suit, and as such are barred

 before this Court. Though res judicata is dispositive in this case, I note that I am also persuaded

 by HomeSafe’s invocation of the doctrine of compulsory counterclaims. In the same way that

 claims that could have been advanced in a previous suit are barred by res judicata, compulsory

 counterclaims not raised in a previous suit are barred in subsequent suits under the Mississippi

 rule of compulsory counterclaim. See Miss. R. Civ. P. 13(a). Because InterNACHI’s RICO

 claims arise out of the same circumstances as InterNACHI’s state counterclaims, InterNACHI

 was required to raise these claims before the state court.4 Its failure to do so thus acts as an

 additional bar to its RICO and related claims before this Court.

                                                   ORDER

         Because InterNACHI’s amended complaint is barred by res judicata and because it was a

 compulsory counterclaim, HomeSafe’s motion to dismiss, ECF No. 23, is GRANTED. The case

 is dismissed with prejudice. Additionally, HomeSafe’s motion to dismiss or transfer, ECF No.

 4
  InterNACHI’s reservation of the right to file a RICO counterclaim in state court is evidence that it was
 aware of the facts to support such a claim; as noted above, the facts it relies on in this case all occurred
 between 2008 and 2011, well before InterNACHI filed its state counterclaims in 2016.

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 14, is moot. As the prevailing party, HomeSafe is awarded costs to be taxed by the Clerk of

 Court pursuant to Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54(1).


        DATED this 5th day of February, 2018.

                                                     BY THE COURT:




                                                     ___________________________________
                                                     R. Brooke Jackson
                                                     United States District Judge




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